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                                      #:774


                                CERTIFICATE OF SERVICE
 1
            I hereby certify that a true and correct copy described as JOINT MOTION TO
 2   DISMISS PAGA; DECLARATION OF MELISSA NEWMAN AVILA;
 3   PROPOSED ORDER was on September 13, 2021, served upon counsel of record below
     electronically by the Court’s Case Management System:
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        OGLETREE, DEAKINS
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10      Agency
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        Oakland, CA 94612
12      (VIA ELECTRONIC SERVICE)

13
14
15          BY NOTICE OF ELECTRONIC FILING: The above-listed counsel have
     consented to electronic service and have been automatically served by the Notice of
16   Electronic Filing automatically generated by CM/ECF at the time said document was
     filed and which constitutes service pursuant to FRCP 5(b)(2)(D).
17
18
19
20         Executed on September 13, 2021, at Los Angeles, California.
21
                                                                      By: /s/ Laura Najera__
22
23
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                                      CERTIFICATE OF SERVICE
